                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:23-CV-593-RJC-DCK

 DORIEN ANDREWS, II, and                                )
 CONNER CRISCO,                                         )
                                                        )                 ORDER
                 Plaintiffs,                            )
                                                        )
    v.                                                  )
                                                        )
 BOJANGLES OPCO, LLC, and                               )
 BOJANGLES RESTAURANTS INC.,                            )
                                                        )
                 Defendants.                            )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 45) filed by Local Counsel Brian L. Kinsley on January 14,

2025.

         Applicant Bryan A. Giribaldo seeks to appear as counsel pro hac vice for Plaintiffs. Upon

review and consideration of the motion, which was accompanied by submission of the necessary

fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 45) is GRANTED. Bryan A.

Giribaldo is hereby admitted pro hac vice to represent Plaintiffs.

         SO ORDERED.
                        Signed: January 14, 2025




    Case 3:23-cv-00593-RJC-DCK               Document 47      Filed 01/14/25    Page 1 of 1
